Case 1:14-cr-20503-KMW Document 176 Entered on FLSD Docket 07/20/2017 Page 1 of 16
                 Case: 16-10348 Date Filed: 07/20/2017 Page: 1 of 1

                                                                                                               AP
                             UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT                                Jul 20, 2017
                                ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                              56 Forsyth Street, N.W.
                                              Atlanta, Georgia 30303                               MIAMI

   David J. Smith                                                                      For rules and forms visit
   Clerk of Court                                                                      www.ca11.uscourts.gov


                                              July 20, 2017

   Steven M. Larimore
   U.S. District Court
   400 N MIAMI AVE
   MIAMI, FL 33128-1810

   Appeal Number: 16-10348-AA
   Case Style: USA v. Claude Thelemaque
   District Court Docket No: 1:14-cr-20503-KMW-1

   A copy of this letter, and the judgment form if noted above, but not a copy of the court's
   decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
   was previously forwarded to counsel and pro se parties on the date it was issued.

   The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
   was previously provided on the date of issuance.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Lois Tunstall
   Phone #: (404) 335-6191

   Enclosure(s)
                                                                         MDT-1 Letter Issuing Mandate
Case 1:14-cr-20503-KMW Document 176 Entered on FLSD Docket 07/20/2017 Page 2 of 16
                 Case: 16-10348 Date Filed: 07/20/2017 Page: 1 of 1


                             UNITED STATES COURT OF APPEALS
                                   For the Eleventh Circuit
                                       ______________

                                             No. 16-10348
                                            ______________

                                       District Court Docket No.
                                        1:14-cr-20503-KMW-1

   UNITED STATES OF AMERICA,

                                                      Plaintiff - Appellee,

   versus

   CLAUDE THELEMAQUE,
   a.k.a. Teleco,

                                                Defendant - Appellant.
                          __________________________________________

                          Appeal from the United States District Court for the
                                     Southern District of Florida
                          __________________________________________

                                              JUDGMENT

   It is hereby ordered, adjudged, and decreed that the opinion issued on this date in this appeal is
   entered as the judgment of this Court.

                                        Entered: June 20, 2017
                           For the Court: DAVID J. SMITH, Clerk of Court
                                          By: Djuanna Clark




   ISSUED AS MANDATE 07/20/2017
Case 1:14-cr-20503-KMW Document 176 Entered on FLSD Docket 07/20/2017 Page 3 of 16
                 Case: 16-10348 Date Filed:
                                      (1 of 14)
                                            06/20/2017 Page: 1 of 13


                                                            [DO NOT PUBLISH]



                 IN THE UNITED STATES COURT OF APPEALS

                         FOR THE ELEVENTH CIRCUIT
                           ________________________

                                 No. 16-10348
                             Non-Argument Calendar
                           ________________________

                      D.C. Docket No. 1:14-cr-20503-KMW-1



   UNITED STATES OF AMERICA,

                                                              Plaintiff - Appellee,

   versus

   CLAUDE THELEMAQUE,
   a.k.a. Teleco,

                                                           Defendant - Appellant.

                           ________________________

                    Appeal from the United States District Court
                        for the Southern District of Florida
                          ________________________

                                  (June 20, 2017)

   Before TJOFLAT, WILLIAM PRYOR, and JULIE CARNES, Circuit Judges.

   PER CURIAM:
Case 1:14-cr-20503-KMW Document 176 Entered on FLSD Docket 07/20/2017 Page 4 of 16
                 Case: 16-10348 Date Filed:
                                      (2 of 14)
                                            06/20/2017 Page: 2 of 13


          Defendant Claude Thelemaque (“Defendant”) appeals his conviction under

   21 U.S.C. §§ 959(a)(2) and 963 for conspiring to distribute a controlled substance

   knowing that it will be unlawfully imported into the United States. Concluding

   that sufficient evidence supports the jury’s finding that Defendant knew the

   cocaine he helped to import to Haiti was to be imported into the United States, we

   affirm Defendant’s conviction.

   I. BACKGROUND

          A. Factual Background 1

          Between 2005 and 2012, Defendant was a major participant in a drug

   importation ring that imported cocaine from Columbia, transported the drugs

   through Haiti, then sent the drugs to the United States to be sold. A corrupt

   commissioner and senior officer with the Haitian National Police, Defendant was

   able to protect the drug ring from detection by law enforcement.

          A Colombian named Carlos Acevedo-Rincon helped to transport, via

   airplane, cocaine from Colombia and Venezuela to Haiti. It was Acevedo-

   Rincon’s understanding that these drugs were subsequently transported to the

   United States from Haiti. Acevedo-Rincon often worked with Haitian national

   Rodolfe Jaar, who coordinated logistics on the ground in Haiti, including securing


   1
     The jury having convicted Defendant, we draw all reasonable inferences and credibility
   choices in the Government’s favor. See United States v. Calhoon, 97 F.3d 518, 523 (11th Cir.
   1996).
                                                  2
Case 1:14-cr-20503-KMW Document 176 Entered on FLSD Docket 07/20/2017 Page 5 of 16
                 Case: 16-10348 Date Filed:
                                      (3 of 14)
                                            06/20/2017 Page: 3 of 13


   aid from the Haitian police. When the delivery required the plane to land (as

   opposed to conducting an air drop), the police secured the airstrip and provided

   security and assistance in unloading the cocaine from the plane.

         Known among some members of the conspiracy as “Teleco,” Defendant was

   one of the police officers who worked with Acevedo-Rincon and Jaar. As the

   commander of the City of Leogane, Defendant had the entire town under his

   control, with about 60 officers under his supervision. Between 2005 and 2012, the

   conspirators brought twenty to thirty plane-loads of cocaine into Haiti, with each

   load bringing between 420 and 450 kilograms of cocaine.

         In 2011, Acevedo-Rincon, Jaar, Defendant, and others met in the Dominican

   Republic to plan an air drop of about 450 kilograms of cocaine in Haiti. Acevedo-

   Rincon arranged for two other Colombians, Jairo Jaimes-Penuela and Francisco

   Anchico-Candelo, to be his representatives in Haiti and accept the shipment on his

   behalf. After this meeting, Defendant drove Jaimes-Penuela and Anchico-Candelo

   to a house in Haiti, where they awaited the delivery, along with Acevedo-Rincon’s

   brother. Defendant owned the house, and the three guests made rental payments

   between $2000 and $2500 per month to Defendant, who visited the house several

   times. Defendant also provided the occupants with cash and cards in U.S. currency

   during their stay. The planned air drop, however, was delayed and ultimately

   cancelled.


                                            3
Case 1:14-cr-20503-KMW Document 176 Entered on FLSD Docket 07/20/2017 Page 6 of 16
                 Case: 16-10348 Date Filed:
                                      (4 of 14)
                                            06/20/2017 Page: 4 of 13


         Acevedo-Rincon, Jaar, and Defendant planned another operation for

   February 2012. This operation involved unloading a delivery of 420 kilograms of

   cocaine from the aircraft after it had landed on a remote airstrip. While this

   delivery was being planned, Jaar began working with authorities. He notified them

   that on the night of February 20, 2012, a plane carrying cocaine from Venezuela

   would be landing in south Haiti. Jaar specifically identified “Teleco” as the officer

   who was coordinating security for this delivery of drugs.

         Though he had assisted in planning the shipment, Defendant absented

   himself from the country on the day of the shipment by visiting family in Florida,

   but he returned to Haiti the next day, on February 21st. Jaimes-Penuela and

   Anchico-Candelo met the plane at the landing strip, and the cocaine was unloaded

   and placed in a vehicle. The cocaine was then taken to the residence that Jaimes-

   Penuela and Anchico-Candelo had previously rented from Defendant. Defendant

   later visited the house to discuss the delivery. Jaar kept 50 kilograms and Anchico-

   Candelo sold 100 kilograms before the cocaine was seized.

         On February 23, 2012, authorities searched the residence and a truck on the

   premises, where they discovered the remaining 270 kilograms of cocaine as well as

   a drug ledger with the name “Teleco” on it. Among the packages of cocaine seized

   was a package that was marked with a Yahoo! logo and a smiling face. Defendant

   was eventually arrested on November 13, 2014, at the United States embassy.


                                             4
Case 1:14-cr-20503-KMW Document 176 Entered on FLSD Docket 07/20/2017 Page 7 of 16
                 Case: 16-10348 Date Filed:
                                      (5 of 14)
                                            06/20/2017 Page: 5 of 13


          B. Procedural History

          At the time of this incident, 21 U.S.C. § 959(a)(2) (2012) made it unlawful

   for any person to manufacture or distribute a controlled substance “knowing that

   such substance . . . will be unlawfully imported into the United States.”2 Section

   963 prohibits individuals from conspiring to violate § 959(a). 21 U.S.C. § 963.

   Defendant was indicted under § 963 for conspiring to violate § 959(a)(2).

          Prior to trial, the Government filed a motion in limine to admit testimony

   about drug packages seized in the United States that bore the same Yahoo!/smiling

   face logo as the drugs seized in Haiti, as well as expert testimony regarding

   methods of producing and packing cocaine, shipping routes for the transport of

   illegal drugs, and the significance of markings on cocaine packaging. Defendant

   challenged this evidence as irrelevant and unfairly prejudicial. The court granted

   the Government’s motion to admit the evidence.

          At trial, a DEA chemist, one of the Government’s expert witnesses, testified

   that at least five packages of cocaine seized in a September 2012 raid in Chicago

   exhibited the same Yahoo!/smiling face logo as the packages seized in Haiti.

   Another expert witness, DEA Agent Noble Harrison, testified about several

   matters, including how narcotics are smuggled into the United States and the

   2
     Section 959(a) was amended in 2016 to prohibit manufacturing or distributing illegal drugs
   “intending, knowing, or having reasonable cause to believe” that the drugs will be unlawfully
   imported into the United States. Transnational Drug Trafficking Act of 2015, Pub. L. No. 114-
   154, § 2, 130 Stat. 387 (2016) (emphasis added).
                                                 5
Case 1:14-cr-20503-KMW Document 176 Entered on FLSD Docket 07/20/2017 Page 8 of 16
                 Case: 16-10348 Date Filed:
                                      (6 of 14)
                                            06/20/2017 Page: 6 of 13


   significance of markings on packages of cocaine. According to Agent Harrison,

   Haiti is a “transshipment” country and serves as a stopover point as drug traffickers

   take drugs from the “source” country, where the drugs are made, to the

   “consumption country,” where the drugs are consumed. Agent Harrison noted that

   drugs passing through Haiti are most likely bound for the United States, a

   consumption country, especially if the loads are larger. It is rare, though not

   unheard of, for drugs destined to Europe from South America to pass through

   Haiti. Agent Harrison further testified that the markings found on cocaine

   packaging, like the Yahoo!/smiling face logo, act either as a “stamp of quality

   control,” signifying the drug’s origin, or show that the drugs are attributable to a

   particular group or individual who did not produce the drug but purchased it and

   further distributed it.

          At the close of the Government’s case, Defendant moved for a judgment of

   acquittal, arguing that a reasonable person could not find him guilty of conspiring

   to possess with intent to distribute knowing that the drugs would be imported to the

   United States. Defense counsel focused on the possibility that the drugs were not

   actually bound for the United States. The court denied the motion, noting that

   several witnesses had testified that they conspired with Defendant to bring cocaine

   from Haiti to the United States. The jury ultimately found Defendant guilty, and

   the court sentenced him to 192 months’ imprisonment and 5 years of supervised


                                              6
Case 1:14-cr-20503-KMW Document 176 Entered on FLSD Docket 07/20/2017 Page 9 of 16
                 Case: 16-10348 Date Filed:
                                      (7 of 14)
                                            06/20/2017 Page: 7 of 13


   release. Defendant appeals the denial of his judgment of acquittal and his

   conviction, arguing primarily that the evidence was insufficient to prove that he

   knew the cocaine being exported from Haiti was destined for the United States and

   also arguing that the court erred by permitting Agent Harrison’s testimony.

   II. DISCUSSION

          A. Sufficiency of Evidence Concerning Defendant’s Knowledge

          Defendant argues that the district court erred in denying his motion for

   acquittal because there was no evidence that Defendant had actual knowledge that

   the drugs were to be shipped to the United States. A court’s denial of a motion for

   acquittal based on sufficiency of evidence grounds is reviewed de novo,

   “consider[ing] the evidence in the light most favorable to the Government [and]

   drawing all reasonable inferences and credibility choices in the Government's

   favor.” United States v. Browne, 505 F.3d 1229, 1253 (11th Cir. 2007).3

   Accordingly, sufficient evidence “requires only that a guilty verdict be reasonable,

   not inevitable, based on the evidence presented at trial,” and if it is, we must

   affirm. Id. In short, we look to whether “substantial evidence” supports the

   verdict. United States v. Starrett, 55 F.3d 1525, 1541 (11th Cir. 1995).


   3
     The Government argues that Defendant did not raise precisely enough before the district court
   the argument that the Government did not introduce sufficient evidence on the element of
   knowledge, and so this argument should be reviewed under a plain error standard. We need not
   resolve this question because even under a de novo standard, we conclude that sufficient
   evidence supports Defendant’s conviction.


                                                  7
Case 1:14-cr-20503-KMW Document 176 Entered on FLSD Docket 07/20/2017 Page 10 of 16
                 Case: 16-10348 Date Filed:
                                      (8 of 14)
                                            06/20/2017 Page: 8 of 13


           Admittedly, no witness testified to hearing Defendant say the words, “I

    know the drugs are heading to the United States,” but the knowledge requirement

    under § 959(a)(2) can be shown through circumstantial evidence. United States v.

    Martinez, 476 F.3d 961, 968 (D.C. Cir. 2007).4 The Government points to several

    pieces of circumstantial evidence that, when viewed cumulatively, provide

    substantial evidence from which a reasonable jury could conclude that Defendant

    knew the cocaine he was conspiring to distribute was bound for the United States.

    See Martinez, 476 F.3d at 968–70; Bollinger, 796 F.2d at 1405.

           Defendant had worked closely with three co-conspirators who testified to

    their own awareness that the cocaine was going to the United States. Specifically,

    Acevedo-Rincon and Anchico-Candelo acknowledged their understanding that the

    cocaine brought into Haiti, and safeguarded by Defendant, was enroute to the

    United States. Jaimes-Penuela testified that he believed the cocaine shipments

    were bound for the United States, and he had never heard of the shipments going to

    Europe. That the people Defendant was working closely with knew the destination

    of the cocaine is a fact that suggests that Defendant, himself, would likewise be in


    4
      In the closely analogous situation of prosecutions under 21 U.S.C. § 952, which prohibits
    knowingly importing controlled substances into the United States, this Court has held that the
    knowledge requirement can be met through circumstantial evidence. United States v. Leavitt,
    878 F.2d 1329, 1336–37 (11th Cir. 1989); United States v. Bollinger, 796 F.2d 1394, 1405 (11th
    Cir. 1986); United States v. Bascaro, 742 F.2d 1335, 1360 (11th Cir. 1984) abrogated on other
    grounds by United States v. Lewis, 492 F.3d 1219 (11th Cir. 2007). Indeed, the D.C. Circuit in
    Martinez cited Bollinger and Bascaro in support of its holding that circumstantial evidence can
    lead to a conviction under § 959(a)(2). Martinez, 476 F.3d at 969–70.
                                                   8
Case 1:14-cr-20503-KMW Document 176 Entered on FLSD Docket 07/20/2017 Page 11 of 16
                 Case: 16-10348 Date Filed:
                                      (9 of 14)
                                            06/20/2017 Page: 9 of 13


    the know on this very important aspect of the conspiracy. Bollinger, 796 F.2d at

    1405 (“All the people with whom [the defendant] had extensive dealings . . . knew

    that the cocaine was to be imported into the United States.”).

          That Defendant played a leading role in the smuggling operation further

    bolsters an inference that he would be expected to know the destination of the

    drugs from which he was profiting. Defendant was Jaar’s “right-hand man,” and,

    in addition to organizing security at the airstrip to allow the plane to land

    clandestinely and to be unloaded, he was present at meetings where the shipments

    were arranged. Further, it was his house that was used by co-conspirators as both a

    meeting place and as a stash house for the cocaine until it could be sent on its way.

          Expert testimony about the role of Haiti in drug importation enterprises

    corroborated the testimony of the co-conspirators. Specifically, this expert

    testimony established that the domestic market for cocaine consumption in Haiti is

    small and that cocaine can fetch up to four times as much in the United States as it

    can in Haiti. For that reason, Haiti is not the stopping point for a large shipment of

    cocaine, which instead is intended to be sent to a market where it can command a

    high price. The United States is such a market, and Haiti is known as a

    “transshipment” country for drugs bound for the United States from South

    America. Indeed, the quantity of drugs involved in this conspiracy suggested that

    the export was heading to a high-demand destination like the United States.


                                               9
Case 1:14-cr-20503-KMW Document 176 Entered on FLSD Docket 07/20/2017 Page 12 of 16
                 Case: 16-10348 Date Filed:
                                      (10 of06/20/2017
                                             14)       Page: 10 of 13


    Although the expert could not state dispositively that drugs are never sent to

    Europe from Haiti, he testified that such shipments were rare. Furthermore, cash

    payments in furtherance of the conspiracy were made in American dollars, not in

    the local Haitian currency nor in Euros, which further suggests that the drugs were

    being purchased in the United States.

          In short, we conclude that the Government produced sufficient evidence to

    prove that during the seven year period of time from 2005–2012 specified in the

    indictment, Defendant conspired to import cocaine into the United States.

          B. Admissibility of Agent Harrison’s Expert Testimony

          Defendant also challenges the district court’s admission of Agent Harrison’s

    expert testimony about the significance of the markings on cocaine packaging and

    the similarity of markings found in Illinois and Haiti. Specifically, some packages

    seized in Haiti contained a marking showing a Yahoo! logo and a smiling face.

    Similarly, a package containing cocaine and showing the same marking had been

    found in Illinois during the same 2012 time period. The agent testified that cocaine

    packaging that is marked typically reflects a “stamp of quality control” that

    signifies the product’s origin or informs the sellers down the distribution chain of

    the identity of the group to whom the drugs should be attributed.

          We review a district court’s evidentiary rulings for an abuse of discretion.

    United States v. Green, 842 F.3d 1299, 1307 (11th Cir. 2016). The Federal Rules


                                             10
Case 1:14-cr-20503-KMW Document 176 Entered on FLSD Docket 07/20/2017 Page 13 of 16
                 Case: 16-10348 Date Filed:
                                      (11 of06/20/2017
                                             14)       Page: 11 of 13


    of Evidence state, as a threshold matter, that all evidence that is relevant to the case

    is admissible, unless otherwise provided by law. Fed. R. Evid. 402. Evidence is

    relevant if it has any tendency to make a fact of consequence more or less probable

    than it would be without the evidence. Fed. R. Evid. 401. The district court may

    exclude evidence otherwise admissible if its probative value is substantially

    outweighed by the danger of unfair prejudice to the defendant. Fed. R. Evid. 403.

    The Supreme Court has instructed that “unfair prejudice” “speaks to the capacity

    of some concededly relevant evidence to lure the factfinder into declaring guilt on

    a ground different from proof specific to the offense charged.” Old Chief v. United

    States, 519 U.S. 172, 180 (1997). While a district court has broad discretion to

    admit probative evidence, its discretion to exclude evidence under Rule 403 is

    limited. United States v. Terzado-Madruga, 897 F.2d 1099, 1117 (11th Cir. 1990).

    Rule 403 is an “extraordinary remedy” that should be invoked “sparingly”;

    balancing should be struck in favor of admissibility, “look[ing] at the evidence in a

    light most favorable to its admission, maximizing its probative value and

    minimizing its undue prejudicial impact.” United States v. Tinoco, 304 F.3d 1088,

    1120 (11th Cir. 2002) (quoting United States v. Elkins, 885 F.2d 775, 784 (11th

    Cir. 1989)).

          Defendant argues that Agent Harrison’s testimony about the markings was

    irrelevant and should not have been admitted under Rule 401. He notes that the


                                              11
Case 1:14-cr-20503-KMW Document 176 Entered on FLSD Docket 07/20/2017 Page 14 of 16
                 Case: 16-10348 Date Filed:
                                      (12 of06/20/2017
                                             14)       Page: 12 of 13


    mere discovery of a Yahoo!-labeled package of cocaine in Illinois, without more,

    does not necessarily mean that the cocaine originated from Defendant’s smuggling

    organization nor, even if it did, that Defendant’s group had not necessarily sent

    drugs marked with the same labeling to Europe or a place other than the United

    States. Accordingly, Defendant argues, Agent Harrison’s testimony was not

    relevant to show that the seized shipment was bound for the United States, or that

    Defendant knew that any shipments were bound for the United States.

          It is true that the contested evidence does not definitively establish either of

    the above two points and, in fact, the expert witness acknowledged the same on

    cross-examination. Yet, that the probative value of the evidence was low does not

    mean that it fails the low threshold set out in Rule 401: evidence is relevant if it

    has any tendency to make a fact of consequence more or less probable that it would

    be without the evidence. That during the same time period in Illinois, cocaine

    packaging had been found with the exact same type of marking as the cocaine

    packages seized at Defendant’s house is a fact that tends to make it more probable

    that the intended site of Defendant’s intended importation might also have been the

    United States.

          Even if this evidence was relevant under Rule 401, Defendant argues that its

    probative value was substantially outweighed by the danger of unfair prejudice,

    which he says made it inadmissible under Rule 403. Defendant argues that the


                                              12
Case 1:14-cr-20503-KMW Document 176 Entered on FLSD Docket 07/20/2017 Page 15 of 16
                 Case: 16-10348 Date Filed:
                                      (13 of06/20/2017
                                             14)       Page: 13 of 13


    testimony asked the jury to draw the unsupported inference that the cocaine seized

    in Illinois and Haiti came from a common producer or distributor that shipped

    exclusively to the United States. Yet, Agent Harrison’s testimony did not demand

    this inference, as the agent testified that he did not know whether the

    Yahoo!/smiling face logo was connected to any particular producer or distributor,

    nor could he say definitively whether that logo had ever been found in Europe.

    Likewise, Agent Harrison never attempted to opine as to Defendant’s personal

    knowledge.

          Notably, Defendant does not challenge on appeal the admission of the logo

    evidence itself. It was this evidence on which a jury could more likely draw the

    inference that Defendant opposes, not the agent’s rather unremarkable observation

    that a marking can serve as the brand of the group which has distributed the drugs.

    Given that Agent Harrison’s expert testimony was relevant and it did not unfairly

    prejudice Defendant, we conclude the district court did not abuse its discretion in

    admitting it.

    III. CONCLUSION

          The district court did not abuse its discretion in admitting the challenged

    evidence and sufficient evidence exists to support Defendant’s conviction.

    Accordingly, Defendant’s conviction is AFFIRMED.




                                              13
Case 1:14-cr-20503-KMW Document 176 Entered on FLSD Docket 07/20/2017 Page 16 of 16
                  Case: 16-10348 Date (14
                                       Filed:
                                           of 14)
                                              06/20/2017 Page: 1 of 1


                                      UNITED STATES COURT OF APPEALS
                                         FOR THE ELEVENTH CIRCUIT

                                         ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                       56 Forsyth Street, N.W.
                                                       Atlanta, Georgia 30303


    David J. Smith                                                                                        For rules and forms visit
    Clerk of Court                                                                                        www.ca11.uscourts.gov


                                                       June 20, 2017

    MEMORANDUM TO COUNSEL OR PARTIES

    Appeal Number: 16-10348-AA
    Case Style: USA v. Claude Thelemaque
    District Court Docket No: 1:14-cr-20503-KMW-1

    This Court requires all counsel to file documents electronically using the Electronic Case Files ("ECF")
    system, unless exempted for good cause. Enclosed is a copy of the court's decision filed today in this appeal.
    Judgment has this day been entered pursuant to FRAP 36. The court's mandate will issue at a later date in
    accordance with FRAP 41(b).

    The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for filing a petition
    for rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise provided by FRAP 25(a) for
    inmate filings, a petition for rehearing or for rehearing en banc is timely only if received in the clerk's office
    within the time specified in the rules. Costs are governed by FRAP 39 and 11th Cir.R. 39-1. The timing,
    format, and content of a motion for attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2
    and 39-3.

    Please note that a petition for rehearing en banc must include in the Certificate of Interested Persons a
    complete list of all persons and entities listed on all certificates previously filed by any party in the appeal. See
    11th Cir. R. 26.1-1. In addition, a copy of the opinion sought to be reheard must be included in any petition for
    rehearing or petition for rehearing en banc. See 11th Cir. R. 35-5(k) and 40-1 .

    Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming compensation for
    time spent on the appeal no later than 60 days after either issuance of mandate or filing with the U.S. Supreme
    Court of a petition for writ of certiorari (whichever is later) via the eVoucher system. Please contact the CJA
    Team at (404) 335-6167 or cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the
    eVoucher system.

    For questions concerning the issuance of the decision of this court, please call the number referenced in the
    signature block below. For all other questions, please call Tonya L. Searcy, AA at (404) 335-6180.

    Sincerely,

    DAVID J. SMITH, Clerk of Court

    Reply to: Djuanna Clark
    Phone #: 404-335-6161

                                                                                        OPIN-1 Ntc of Issuance of Opinion
